    Case 1:19-cv-02985-ALC-GWG Document 435                       Filed 09/16/22   Page 1 of 2
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------x
 Thomas Schansman, et al.,
                                              Plaintiffs,


                          -against-                          :    1:19-CV-02985 (ALC) (GWG)
                                                             :
                                                             :             ORDER
 Sberbank of Russia PJSC et al.,                             :
                                             Defendants. :
 ----------------------------------------------------------- :x

 ANDREW L. CARTER, JR., United States District Judge:
         The Court is in receipt of the parties' Joint Status Report at ECF No. 433. As such,
 the parties should proceed as follows:
 VTB Bank
         The Court dismisses VTB's current motion for reconsideration and pre-motion letter
 for certification of interlocutory appeal in light of the parties' request.
         VTB and Plaintiffs are granted leave to amend their filings, according to the schedule
 laid out in ECF 433, copied below.
   • October 7, 2022 – VTB to file renewed motion for reconsideration and a renewed letter
     motion for certification of an interlocutory appeal;
   • October 14, 2022 – Plaintiffs to file their response to VTB’s renewed letter motion for
     certification of an interlocutory appeal;
   • November 8, 2022 – Plaintiffs to file their response to VTB’s renewed motion for
     reconsideration;
   • November 14, 2022 – VTB to file reply, if any, in support of its renewed motion for
     reconsideration.
 As such, the Clerk of Court is respectfully directed to terminate ECF Nos. 213 and 217.


 Sberbank of Russia
         Per the parties’ request, the Court will decide Sberbank’s outstanding motions as
 currently submitted.
         The Court will address Sberbank’s motion for reconsideration (ECF No. 220),
 motion to dismiss (ECF No. 257), pre-motion letter for certification of interlocutory appeal
 (ECF No. 222), the discovery dispute at ECF No. 311, and any other pending motions in due
 course.
        Further, Sberbank’s motion to stay the action pending substitution of Counsel is
 dismissed as moot, as Sberbank’s new counsel entered appearances on July 13, 2022. The
 Clerk of Court is respectfully directed to terminate ECF No. 303.


        The Court thanks the parties’ for their submissions in relation to the order at ECF
 433. The Clerk of Court is asked to terminate ECF Nos. 213, 217, and 303.
  Case 1:19-cv-02985-ALC-GWG   Document 435    Filed 09/16/22    Page 2 of 2

SO ORDERED.



Dated:   Sept 16, 2022
          New York, New York

                                              ANDREW L. CARTER, JR.
                                              United States District Judge
